18-13374-mew         Doc 285       Filed 01/11/19 Entered 01/11/19 19:51:16                     Main Document
                                               Pg 1 of 18



AKIN GUMP STRAUSS HAUER & FELD LLP
One Bryant Park
New York, New York 10036
Telephone: (212) 872-1000
Facsimile: (212) 872-1002
Ira S. Dizengoff
Philip C. Dublin
Kevin Zuzolo

Proposed Counsel to the Official Committee of
Unsecured Creditors of Aegean Marine
Petroleum Network Inc., et al.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                  :
    In re                                                         :   Chapter 11
                                                                  :
    AEGEAN MARINE PETROLEUM                                       :   Case No. 18-13374 (MEW)
    NETWORK INC., et al.,                                         :
                                                                  :   (Jointly Administered)
                                              Debtors. 1          :
                                                                  :

                         NOTICE OF FILING OF REVISED CREDITOR
                       INFORMATION PROTOCOL PROPOSED ORDER

            PLEASE TAKE NOTICE that on January 2, 2019, the Official Committee of Unsecured

Creditors (the “Committee”) of Aegean Marine Petroleum Network Inc., et al. (collectively, the

“Debtors”) filed the Motion of the Official Committee of Unsecured Creditors of Aegean Marine

Petroleum Network Inc., et al., for Entry of an Order Clarifying the Requirement to Provide Access

to Confidential or Privileged Information and Approving a Protocol Regarding Creditor Requests

for Information [Docket No. 261] (the “Motion”), together with the proposed Order Clarifying the

Requirement to Provide Access to Confidential or Privileged Information and Approving a




1
 A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed
claims and noticing agent at http://dm.epiq11.com/aegean.
18-13374-mew      Doc 285     Filed 01/11/19 Entered 01/11/19 19:51:16          Main Document
                                          Pg 2 of 18



Protocol Regarding Creditor Requests for Information [Docket No. 261, Exhibit A] (the

“Proposed Information Protocol Order”).


       PLEASE TAKE FURTHER NOTICE that the deadline for parties to object or file

responses to the Motion was set for January 9, 2019, at 4:00 p.m. (prevailing Eastern Time) (the

“Objection Deadline”). More than forty-eight (48) hours since the Objection Deadline have now

passed, and, to the best of my knowledge, no objections to the Motion have been filed with the

Court on the docket of these chapter 11 cases or served on proposed counsel to the Committee.


       PLEASE TAKE FURTHER NOTICE that subsequent to the filing of the Motion, the

Committee engaged with the Debtors over revisions to the Proposed Information Protocol Order

based on informal comments received from the Debtors.


       PLEASE TAKE FURTHER NOTICE that the Committee hereby files a revised

Proposed Information Protocol Order (the “Revised Proposed Information Protocol Order”)

attached hereto as Exhibit A. A blackline reflecting the changes from the Proposed Information

Protocol Order is attached hereto as Exhibit B.


       PLEASE TAKE FURTHER NOTICE that the Committee understands that the changes

reflected in the Revised Proposed Information Protocol Order resolve the Debtors’ comments and

is unaware of any other comments or opposition to the relief requested in the Motion.


       PLEASE TAKE FURTHER NOTICE that, if not entered prior to the hearing, the

Committee will seek entry of the Revised Proposed Information Protocol Order at the hearing

scheduled before the Honorable Michael E. Wiles, United States Bankruptcy Judge, United States

Bankruptcy Court for the Southern District of New York, One Bowling Green, Courtroom

                                                  2
18-13374-mew     Doc 285     Filed 01/11/19 Entered 01/11/19 19:51:16        Main Document
                                         Pg 3 of 18



No. 617, New York, New York 10014-1408, on January 16, 2019 at 11:00 a.m. (prevailing

Eastern Time) or as soon thereafter as counsel may be heard.




 New York, New York                             AKIN GUMP STRAUSS HAUER & FELD LLP
 Dated: January 11, 2019
                                                /s/ Ira S. Dizengoff
                                                Ira S. Dizengoff
                                                Philip C. Dublin
                                                Kevin Zuzolo
                                                One Bryant Park
                                                New York, New York 10036
                                                Telephone: (212) 872-1000
                                                Facsimile: (212) 872-1002
                                                idizengoff@akingump.com
                                                pdublin@akingump.com
                                                kzuzolo@akingump.com

                                                Proposed Counsel to the Official Committee of
                                                Unsecured Creditors of Aegean Marine Petroleum
                                                Network Inc., et al.




                                               3
18-13374-mew   Doc 285   Filed 01/11/19 Entered 01/11/19 19:51:16   Main Document
                                     Pg 4 of 18



                                  EXHIBIT A

                   Revised Proposed Information Protocol Order
18-13374-mew          Doc 285       Filed 01/11/19 Entered 01/11/19 19:51:16                     Main Document
                                                Pg 5 of 18




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                    :
    In re                           :                                   Chapter 11
                                    :
    AEGEAN MARINE PETROLEUM NETWORK :                                   Case No. 18-13374 (MEW)
    INC., et al.,                   :
                                    :                                   (Jointly Administered)
                      Debtors. 1    :


        ORDER CLARIFYING THE REQUIREMENT TO PROVIDE ACCESS TO
        CONFIDENTIAL OR PRIVILEGED INFORMATION AND APPROVING A
        PROTOCOL REGARDING CREDITOR REQUESTS FOR INFORMATION

         Upon the motion (the “Motion”) 2 of the Official Committee of Unsecured Creditors (the

“Committee”) of Aegean Marine Petroleum Network Inc., et al. (collectively, the “Debtors”) for

entry of an order (this “Order”), pursuant to sections 105(a), 107(b), and 1102(b)(3)(A) and (B) of

title 11 of the United States Code (the “Bankruptcy Code”) and Rule 9018 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) clarifying the requirements of the Committee to

provide access to confidential or privileged information to creditors and approving a protocol

regarding the same; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §

1334 and the Amended Standing Order of Reference from the United States District Court for the

Southern District of New York, dated January 31, 2012; and this Court having found that this is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that it may enter

a final order consistent with Article III of the United States Constitution; and this Court having

found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in the best


1
     A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at http://dm.epiq11.com/aegean.
2
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
18-13374-mew        Doc 285     Filed 01/11/19 Entered 01/11/19 19:51:16              Main Document
                                            Pg 6 of 18



interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

found that the notice of the Motion and opportunity for a hearing on the Motion were appropriate

under the circumstances and no other notice need be provided; and this Court having reviewed the

Motion; and this Court having determined that the legal and factual bases set forth in the Motion

establish just cause for the relief granted herein; and upon all of the proceedings had before this

Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

        1.      The relief requested in the Motion is granted, effective nunc pro tunc to the

Committee Formation Date, as set forth herein.

        2.      The Committee shall implement the following protocol for providing access to

information for creditors (the “Creditor Information Protocol”) in accordance with Bankruptcy

Code sections 1102(b)(3)(A) and (B):

             a. Privileged and Confidential Information: The Committee shall not be required to
                disseminate to any entity (all references to “entity” herein shall be as defined in
                Bankruptcy Code section 101(15)) (i) without further order of the Court,
                Confidential Information or (ii) any Privileged Information. The Debtors shall
                assist the Committee in identifying any Privileged Information or Confidential
                Information concerning the Debtors that is provided by the Debtors or their agents
                or professionals, or by any third party, to the Committee and its agents and
                professionals. Any documents, information, or other materials designated by the
                Debtors as confidential or privileged shall be treated as “Confidential Information”
                or “Privileged Information,” as applicable, for purposes of this Creditor
                Information Protocol. In addition, the Committee shall not be required to provide
                access to information for or solicit comments from any entity that has not
                demonstrated to the satisfaction of the Committee, in its sole discretion, or to the
                Court, that it holds a claim of the kind described in Bankruptcy Code section
                1102(b)(3).

             b. Information Obtained Through Discovery: Any information received (formally or
                informally) by the Committee pursuant to Bankruptcy Rule 2004 or in connection
                with any formal or informal discovery in any contested matter, adversary
                proceeding, or other litigation shall not be governed by this Order but, rather, by
                any order governing such discovery. The Committee shall not be obligated to
                provide any information the Committee obtains from third parties.

                                                   2
18-13374-mew   Doc 285     Filed 01/11/19 Entered 01/11/19 19:51:16             Main Document
                                       Pg 7 of 18



        c. Creditor Information Requests: If a creditor (a “Requesting Creditor”) submits a
           written request to the Committee or the Committee Professionals for the Committee
           to disclose information (an “Information Request”), pursuant to Bankruptcy Code
           section 1102(b)(3)(A), the Committee shall, as soon as reasonably practicable, but
           no more than thirty (30) days after receipt of the Information Request, provide a
           response to the Information Request (a “Response”), including by providing access
           to the information requested or stating the reason(s) why the Committee cannot
           disclose the information requested by such Information Request. If the Response
           is to deny the Information Request because the Committee believes that the
           Information Request implicates Confidential Information or Privileged Information
           that should not be disclosed, including, but not limited to, (i) pursuant to the terms
           of this Order or otherwise under Bankruptcy Code section 1102(b)(3)(A), (ii)
           because such disclosure is prohibited under applicable law, (iii) because such
           information was obtained by the Committee pursuant to an agreement to maintain
           it as confidential, or (iv) that the Information Request is unduly burdensome, the
           Requesting Creditor may, after a good faith effort to meet and confer with an
           authorized representative of the Committee regarding the Information Request and
           the Response, seek to compel such disclosure for cause pursuant to a motion. Such
           motion shall be properly served, including on the Debtors and the Committee
           Professionals, and the hearing on such motion shall be noticed and scheduled.
           Nothing shall preclude the Requesting Creditor from requesting (or the Committee
           objecting to such request) that the Committee provide the Requesting Creditor a
           log or other index of any information specifically responsive to the Requesting
           Creditor’s request that the Committee deems to be Confidential Information or
           Privileged Information. Further, the Requesting Creditor will be permitted to
           request that the Court conduct an in camera review of information that the
           Committee sets forth in the Response that it cannot share.

        d. Release of Confidential Information of Third Parties: If the Information Request
           implicates Confidential Debtor Information or Confidential Non-Debtor
           Information and the Committee agrees that such request should be satisfied, or if
           the Committee without a third party request wishes to disclose such Confidential
           Information to creditors, the Committee may request (a “Demand”) for the benefit
           of the Debtors’ creditors: (i) if the Confidential Information is Confidential Debtor
           Information, by submitting a written request to counsel for the Debtors requesting
           that such information be disclosed; and (ii) if the Confidential Information is
           Confidential Non-Debtor Information, by submitting a written request to such third
           party and its counsel of record (if any), with a copy to the Debtors’ counsel,
           requesting that such information be disclosed. If the Debtors or such other entity
           do not agree in writing within ten (10) days after receipt of the Demand to disclose
           such information, the Committee or the Requesting Creditor may file a motion
           seeking a ruling with respect to the Demand, and the Debtors or such other entity,
           as applicable, may file an objection to such motion on any basis. Demands
           submitted to counsel to the Debtors pursuant to this clause (d) shall be submitted
           by email to: Marc Kieselstein (mkieselstein@kirkland.com), Adam C. Paul
           (apaul@kirkland.com),              and         W.          Benjamin           Winger

                                              3
18-13374-mew      Doc 285     Filed 01/11/19 Entered 01/11/19 19:51:16           Main Document
                                          Pg 8 of 18



               (benjamin.winger@kirkland.com). The Committee will not be authorized to
               disclose Confidential Debtor Information or Confidential Non-Debtor Information
               absent an agreement in writing from the Debtors (or their professional advisors) or
               such third party, as applicable, or further order of the Court.

            e. The Committee (or its members and representatives) will not be precluded from
               discussing commonly-received Confidential Information (and sharing analyses or
               other documents generated by the Committee based on such commonly-received
               Confidential Information) with any other party in interest in the Debtors’ chapter
               11 cases and/or its advisor(s) that have signed a confidentiality agreement similar
               to the confidentiality agreement entered into between the Committee and the
               Debtors or any other party; provided, however, that the Committee shall not share
               or discuss any Confidential Information pursuant to this sub-paragraph (e) that is
               or may be subject to a joint or common interest privilege with the Debtors without
               obtaining the Debtors’ prior written consent.

       3.      The Committee shall not be required pursuant to Bankruptcy Code section

1102(b)(3)(A) to provide access to any Confidential Information to any creditor with a claim of

the kind represented by the Committee except as provided in the Creditor Information Protocol.

       4.      The Committee shall not be required pursuant to Bankruptcy Code section

1102(b)(3)(A) to provide access to any Privileged Information to any creditor with a claim of the

kind represented by the Committee. Nonetheless, the Committee shall be permitted, but not

required, to provide access to Privileged Information or Confidential Committee Information to

any party so long as (a) such Privileged Information or Confidential Committee Information does

not include any Confidential Debtor Information or Confidential Non-Debtor Information and (b)

any relevant privilege is held and controlled solely by the Committee.

       5.      Nothing in this Order shall diminish or modify the rights and obligations of the

Committee or its members and representatives under the Committee bylaws or any confidentiality

agreement entered into with the Debtors or any other party (including the Committee’s or its

member’s and representative’s rights to disclose Confidential Information as permitted under such




                                                4
18-13374-mew       Doc 285      Filed 01/11/19 Entered 01/11/19 19:51:16              Main Document
                                            Pg 9 of 18



confidentiality agreement), which rights and obligations shall remain in full force and effect

notwithstanding any provision of this Order.

        6.     None of the Committee, the members of the Committee or their respective

representatives, agents, advisors, or counsel of the Committee or the members of the Committee

(each a “Committee Party,” and collectively, the “Committee Parties”) nor the Debtors or their

respective representatives, agents, advisors, or counsel shall have or incur any liability to any entity

(including to the Committee Parties or the Debtors) for acts taken or omitted to be taken so long

as the Committee Parties and the Debtors have acted in compliance with the Creditor Information

Protocol, or any provisions of this Order; provided, however, that the foregoing shall not preclude

or abridge the right of any creditors to move the Court for an order requiring the production of

other or further information.

        7.     The Committee is hereby authorized to establish and maintain a website as

described in the Motion.

        8.     The Committee is further authorized to use Epiq Corporate Restructuring, LLC

(“Epiq”) in connection with any such website for the benefit of creditors. Any costs, expenses, or

fees charged by Epiq on account of such website will be included in the invoices submitted by

Epiq to the Debtors pursuant to the Order Authorizing Employment and Retention of Epiq

Corporate Restructuring, LLC as Claims and Noticing Agent [Docket No. 84] and shall be paid

according to the procedures therein.

        9.     Nothing in this Order shall expand, restrict, affirm, or deny the right or obligation,

if any, of the Committee to provide access or not provide access to any information of the Debtors

to any party except as explicitly provided herein.




                                                   5
18-13374-mew      Doc 285     Filed 01/11/19 Entered 01/11/19 19:51:16             Main Document
                                         Pg 10 of 18



       10.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.



 New York, New York
 Dated: __________, 2019

                                                     THE HONORABLE MICHAEL E. WILES
                                                     UNITED STATES BANKRUPTCY JUDGE




                                                 6
18-13374-mew   Doc 285   Filed 01/11/19 Entered 01/11/19 19:51:16      Main Document
                                    Pg 11 of 18



                                   EXHIBIT B

               Blackline Against Proposed Information Protocol Order
18-13374-mew   Doc 285   Filed 01/11/19 Entered 01/11/19 19:51:16   Main Document
                                    Pg 12 of 18
18-13374-mew   Doc 285   Filed 01/11/19 Entered 01/11/19 19:51:16   Main Document
                                    Pg 13 of 18
18-13374-mew   Doc 285   Filed 01/11/19 Entered 01/11/19 19:51:16   Main Document
                                    Pg 14 of 18
18-13374-mew   Doc 285   Filed 01/11/19 Entered 01/11/19 19:51:16   Main Document
                                    Pg 15 of 18
18-13374-mew   Doc 285   Filed 01/11/19 Entered 01/11/19 19:51:16   Main Document
                                    Pg 16 of 18
18-13374-mew   Doc 285   Filed 01/11/19 Entered 01/11/19 19:51:16   Main Document
                                    Pg 17 of 18
18-13374-mew   Doc 285   Filed 01/11/19 Entered 01/11/19 19:51:16   Main Document
                                    Pg 18 of 18
